22-11509-pb        Doc 132        Filed 02/01/23 Entered 02/01/23 09:10:17                Main Document
                                               Pg 1 of 6



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re:                                                             Chapter 11

URBAN COMMONS 2 WEST LLC, ET AL.,1                                 Lead Case No.: 22-11509 (PB)

                                    Debtors.                       (Jointly Administered)
--------------------------------------------------------X

                 ORDER PURSUANT TO 11 U.S.C. §§ 105(a) AND 331
           ESTABLISHING PROCEDURES FOR MONTHLY COMPENSATION
             AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

        UPON the annexed motion (the "Motion") of the above-captioned debtors and debtors-

in-possession (the "Debtors"), for an order, pursuant to §§ 105(a) and 331 of the United States

Bankruptcy Code (the "Code"), establishing procedures for monthly compensation and

reimbursement of expenses of professionals retained by order of this Court, and this Court

having determined that the relief requested in the Motion is in the best interests of the Debtors,

their respective creditors and their respective estates; and it appearing that proper and adequate

notice has been given; and it appearing that no other or further notice is necessary; and it

appearing, after due notice that there have been no objections made to the relief requested in the

Motion, and good and sufficient cause appearing therefor, it is hereby

         ORDERED, that except as may otherwise be provided in Court orders authorizing the

retention of specific professionals, all professionals in this case may seek monthly compensation

in accordance with the following procedure:

        (a)      On or before the twentieth (20th) day of each month following the month for

                 which compensation is sought, each professional seeking compensation under this


1
 Jointly administered with Urban Commons 2 West II LLC (Tax ID: **-***7987), Urban Commons 2 West III
LLC (Tax ID: **-***3270), Urban Commons 2 West IV LLC (Tax ID: **-***8418), and Urban Commons 2 West
Operating Tenant LLC (Tax ID: **-***0849), with a shared mailing address of 3334 East Coast Highway, No. 350,
Corona Del Mar, CA 92625.


                                                        1
22-11509-pb     Doc 132     Filed 02/01/23 Entered 02/01/23 09:10:17              Main Document
                                         Pg 2 of 6



              Order will serve a monthly statement, by hand or overnight delivery on (i) the

              Debtors’ CRO and IM; (ii) bankruptcy counsel to the Debtors; (iii) counsel to

              each official committee appointed herein, if any; (iv) the Office of the United

              States Trustee, Attn: Tara Tiantian; (v) counsel to all post-petition lenders or their

              agent(s), if any; (vi) counsel to the Debtors’ pre-petition lender, BPC Lender,

              LLC; (vii) counsel to the Debtors’ DIP Lender, BPC DIP Lender, LLC; and (viii)

              all parties filing notices of appearance herein.

     (b)      The monthly statement need not be filed with the Court and a courtesy copy need

              not be delivered to the presiding Judge's chambers since this Order is not intended

              to alter the fee application requirements outlined in §§ 330 and 331 of the Code

              and since professionals are still required to serve and file interim and final fee

              applications for approval of fees and expenses in accordance with the relevant

              provisions of the Code, the Federal Rules of Bankruptcy Procedure and the Local

              Rules for the United States Bankruptcy Court, Southern District of New York;

     (c)      Each monthly fee statement must contain a list of the individuals and their

              respective titles (e.g. attorney, accountant, or paralegal) who provided services

              during the statement period, their respective billing rates, the aggregate hours

              spent by each individual, a reasonably detailed breakdown of the disbursements

              incurred (No professional should seek reimbursement of an expense which would

              otherwise not be allowed pursuant to the Court's Administrative Orders dated

              June 24, 1991 and April 21, 1995 or the United States Trustee Guidelines for

              Reviewing Applications for Compensation and Reimbursement of Expenses Filed

              under 11 U.S.C. § 330 dated January 30, 1996, as amended), and




                                                 2
22-11509-pb     Doc 132     Filed 02/01/23 Entered 02/01/23 09:10:17              Main Document
                                         Pg 3 of 6



              contemporaneously maintained time entries for each individual in increments of

              tenths (1/10) of an hour;

     (d)      Each person receiving a statement will have at least ten (10) days after its receipt

              to review it and, in the event that he or she has an objection to the compensation

              or reimbursement sought in a particular statement, he or she shall, by no later than

              the fifteenth (15th) day following the month for which compensation is sought,

              serve upon the professional whose statement is objected to, and the other persons

              designated to receive statements in paragraph (a), a written "Notice of Objection

              to Fee Statement," setting forth the nature of the objection and the amount of fees

              or expenses at issue;

     (e)      At the expiration of the fifteen (15) day period, the Debtors shall promptly pay

              eighty percent (80%) of the fees and one hundred percent (100%) of the expenses

              identified in each monthly statement to which no objection has been served in

              accordance with paragraph (d);

     (f)      If an objection to a particular fee statement is received, the Debtors shall

              withhold payment of that portion of the fee statement to which the objection is

              directed and promptly pay the remainder of the fees and disbursements in the

              percentages set forth in paragraph (e);

     (g)      Similarly, if the parties to an objection are able to resolve their dispute following

              the service of a Notice of Objection to Fee Statement and if the party whose

              statement was objected to serves on all of the parties listed in paragraph (a) a

              statement indicating that the objection is withdrawn and describing in detail the

              terms of the resolution, then the Debtors shall promptly pay, in accordance with




                                                3
22-11509-pb     Doc 132     Filed 02/01/23 Entered 02/01/23 09:10:17              Main Document
                                         Pg 4 of 6



              paragraph (e), that portion of the fee statement which is no longer subject to an

              objection;

     (h)      All objections that are not resolved by the parties shall be preserved and presented

              to the Court at the next interim or final fee application hearing to be heard by the

              Court. See paragraph (j) below;

     (i)      The service of an objection in accordance with paragraph (d) shall not prejudice

              the objecting party's right to object to any fee application made to the Court in

              accordance with the Code on any ground whether raised in the objection or not.

              Furthermore, the decision by any party not to object to a fee statement shall not be

              a waiver of any kind or prejudice that party's right to object to any fee application

              subsequently made to the Court in accordance with the Code;

     (j)      Approximately every 120 days, but no more than every 150 days, each of the

              professionals shall serve and file with the Court an application for interim or final

              Court approval and allowance, pursuant to sections 330 and 331 of the

              Bankruptcy Code (as the case may be), of the compensation and reimbursement

              of expenses requested;

     (k)      Any professional who fails to file an application seeking approval of

              compensation and expenses previously paid under this Order when due shall (1)

              be ineligible to receive further monthly payments of fees or expenses as provided

              herein until further order of the Court and (2) may be required to disgorge any

              fees paid since retention or the last fee application, whichever is later;

     (l)      The pendency of an application or a Court order that payment of compensation or

              reimbursement of expenses was improper as to a particular statement shall not




                                                 4
22-11509-pb         Doc 132   Filed 02/01/23 Entered 02/01/23 09:10:17            Main Document
                                           Pg 5 of 6



                 disqualify a professional from the future payment of compensation or

                 reimbursement of expenses as set forth above, unless otherwise ordered by the

                 Court;

          (m)   Neither the payment of, nor the failure to pay, in whole or in part, monthly

                 compensation and reimbursement as provided herein shall have any effect on this

                 Court's interim or final allowance of compensation and reimbursement of

                 expenses of any professionals;

          (n)    Counsel for each official committee may, in accordance with the foregoing

                 procedure for monthly compensation and reimbursement of professionals, collect

                 and submit statement of expenses, with supporting vouchers, from members of

                 the committee he or she represents, provided, however, that such committee

                 counsel ensures that these reimbursement requests comply with this Court's

                 Administrative Orders dated June 24, 1991 and April 21, 1995;

and it is further

          ORDERED, that each Professional may seek in its first request for compensation and

reimbursement of expenses pursuant to this Order, compensation for work performed and

reimbursement of expenses incurred during the period beginning on the date of said

professional’s retention and ending 120 days thereafter; and it is further

          ORDERED, that the Debtors shall include all payments to Professionals on its monthly

operating reports, detailed so as to state the amount paid to each of the Professionals; and it is

further

          ORDERED, that any party may object to requests for payments made pursuant to this

Order on the grounds that the Debtors have not timely filed monthly operating reports, remained




                                                  5
22-11509-pb      Doc 132      Filed 02/01/23 Entered 02/01/23 09:10:17          Main Document
                                           Pg 6 of 6



current with their administrative expenses and 28 U.S.C. § 1930 fees, or a manifest exigency

exists by seeking a further order of this Court, otherwise, this Order shall continue and shall

remain in effect during the pendency of this case; and it is further

       ORDERED, that all time periods set forth in this Order shall be calculated in accordance

with Federal Rule of Bankruptcy Procedure 9006(a); and it is further

       ORDERED, that any and all other and further notice of the relief requested in the Motion

shall be, and hereby is, dispensed with and waived; provided, however, that the Debtors must

serve a copy of this Order on all entities specified in paragraph (a) hereof.

Dated: New York, New York
       February 1, 2023


                                       /s/ Philip Bentley
                                       HONORABLE PHILIP BENTLEY
                                       UNITED STATES BANKRUPTCY JUDGE




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